                     IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION
IN RE RICHARD M. OSBORNE                            CASE NO. 17-17361
                  Debtor                            CHAPTER 11
                                                    JUDGE ARTHUR I. HARRIS

   MOTION OF RICHARD M. OSBORNE TO SELL A PARCEL OF REAL PROPERTY LOCATED AT
  GIRDLED ROAD, CONCORD TOWNSHIP OH FREE OF ANY INTEREST OF ANY ENTITY OTHER
                               THAN THE ESTATE
        Richard M. Osborne, Debtor in Possession (“Debtor”) moves this Court for an order

pursuant to 11 U.S.C. §§ 102(1)(B)(i), 363(b) and (f), authorizing the sale of the property of the

estate described below free of any interest of any entity other than the estate.

1. On December 17, 2017 (the “Petition Date”), the Debtor filed his voluntary petition for relief

under chapter 11 of title 11 of the United States Code (the "Bankruptcy Code").

2. The Debtor has continued in possession of his property and has continued to operate and

manage his businesses as debtor-in possession pursuant to §§ 1107(a) and 1108 of the

Bankruptcy Code. No request has been made for the appointment of a trustee or examiner, and

the United States Trustee has indicated that no official creditor committee is being formed in this

case.

3. The Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334. Venue

is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409. This is a "core" proceeding

pursuant to 28 U.S.C. § 157(b)(2)(A), (M) and (O). The statutory predicate for the relief sought

herein is §363(b) and (f) of the Bankruptcy Code.

4. The Debtor seeks to sell vacant land at Girdled Road, Concord Ohio PPN 08A0010000490

(“Girdled Road”). The Debtor proposes to sell the estate’s interest in Girdled Road for

$125,000.00 (“Gross Proceeds”) less payment of all outstanding real estate taxes through the

closing date, consisting of approximately $3,248.19 in current real estate taxes due Lake County


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Ohio (the “Real Estate Taxes” and the remaining sum the “Net Proceeds”) on the terms and

conditions set forth in the offer to purchase from Sommers Real Estate Group LLC (“Buyer”)

attached hereto as Exhibit A. Buyer has no connection to the Debtor, but is seeking to purchase

two lots on Concord Hambden Road that is the subject of a separate motion to sell. Buyer seeks

to purchase Girdled Road in good faith.

5. Prepetition title to Girdled Road was in the name of the Richard M. Osborne Trust (“Trust”).

On December 17, 2017 the Debtor revoked the Trust which caused the Trust’s property to revest

in the Debtor on that date. Girdled Road is therefore property of this bankruptcy estate.

6. On or about January 7, 2008, the Trust gave a mortgage to RBS Citizen’s Charter One Bank

(“RBS”) on Girdled Road (the “Mortgage”). The Mortgage granted a first priority lien on

Girdled Road. RBS alleges that it is owed $8,076,373.53 in its filed proof of claim Claim No. 28.

The only interest superior to the Mortgage in Girdled Road are the liens for Real Estate Taxes.

7. The Lake County Auditor’s fair market appraisal for Girdled Road is $73,070.00. The

proposed Gross Sales Price is therefore fair and reasonable for Girdled Road.

8. There are numerous holders of an interest in Girdled Road as set forth on Exhibit B, but all

such holders of any interest consent to the sale free of their interest.

9. Many of the interests in Girdled Road are in bona fide dispute. .

10. As the remaining interests are junior in priority to the Mortgage, the holder of any interest in

Girdled Road may be compelled in a legal or equitable proceeding to accept a money satisfaction

of such interest.

11. In order to provide adequate protection of any interest in Girdled Road, the Real Estate Taxes

will be paid to Tax Ease and/or the Lake County Treasurer. The Net Proceeds will be paid to

RBS, but subject to the jurisdiction of this Court should its claim later be disallowed or if RBS



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be paid in full from other sources. All other interests in Girdled Road will be determined by a

later order of this Court, in accordance with the respective rights and priorities of the holders any

interest in Girdled Road, as such right appears and is entitled to be enforced against Girdled

Road, the Estate or the Debtor under the Bankruptcy Code or applicable non-bankruptcy law.

12. Therefore Girdled Road may be sold free of any interest of any other entity.

       Therefore, the Debtor respectfully requests that this Court authorize the sale of Girdled

Road, in the event a timely objection to this motion is made, to the Buyer on the terms and

conditions herein set forth.

                                              Respectfully submitted,
                                              /s/ Frederic P. Schwieg, Esq.
                                              Frederic P. Schwieg, Esq. (0030418)
                                              Attorney at Law
                                              2705 Gibson Dr
                                              Rocky River, OH 44116
                                              (440) 499-4506
                                              Fax: (440) 398-0490
                                              fschwieg@schwieglaw.com
                                              Attorney for Richard M. Osborne




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                                          CERTIFICATE OF SERVICE

I hereby certify that a copy of this Motion to sell was electronically transmitted on or about the date filed via the
Court’s CM/ECF system to the following who are listed on the Court’s Electronic Mail Notice list or was served by
U.S. mail, postage prepaid, or certified mail on the persons below as indicated below.
Electronic Mail Notice List
The following is a list of the parties who are on the list to receive e-mail notice/service for this case:

Gregory P. Amend on behalf of Creditor First National Bank of Pennsylvania
gamend@bdblaw.com, grichards@bdblaw.com

Adam S. Baker on behalf of Creditor Michael E. Osborne, Sr.
abakerlaw@sbcglobal.net, adam@bakerlaw.us;abakerlaw@gmail.com

Robert D. Barr on behalf of Creditor Chicago Title Insurance Company
rbarr@koehler.law, rbarr@koehler.law

David T. Brady on behalf of Creditor Tax Ease Ohio, LLC
DBrady@Sandhu-Law.com, bk1notice@sandhu-law.com

Christopher J. Klym on behalf of Creditor Ohio Department of Taxation
bk@hhkwlaw.com

Matthew H. Matheney on behalf of Creditor First National Bank of Pennsylvania
mmatheney@bdblaw.com, bhajduk@bdblaw.com

Timothy P. Palmer on behalf of Creditor The Huntington National Bank
timothy.palmer@bipc.com, donna.curcio@bipc.com

John J. Rutter on behalf of Creditor Concord Lumber & Supply Co.
jrutter@ralaw.com

Frederic P. Schwieg on behalf of Debtor Richard M. Osborne
fschwieg@schwieglaw.com

Michael J. Sikora, III on behalf of Creditor Chicago Title Insurance Company
msikora@sikoralaw.com, aarasmith@sikoralaw.com;mtroha@sikoralaw.com

Nathaniel R. Sinn on behalf of Creditor First National Bank of Pennsylvania
nsinn@bdblaw.com, kslatinsky@bdblaw.com

Andrew M. Tomko on behalf of Creditor Tax Ease Ohio, LLC
atomko@sandhu-law.com, bk1notice@sandhu-law.com

Jeffrey C. Toole on behalf of Interested Party Zachary B Burkons
toole@buckleyking.com, young@buckleyking.com;heberlein@buckleyking.com

Michael S. Tucker on behalf of Creditor Citizens Bank, N.A.
mtucker@ulmer.com

Maria D. Giannirakis ust06 on behalf of U.S. Trustee United States Trustee
maria.d.giannirakis@usdoj.gov

Scott R. Belhorn ust35 on behalf of U.S. Trustee United States Trustee
Scott.R.Belhorn@usdoj.gov

Ordinary US Mail Service:
Treasurer-Lake County



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PO BOX 490
Painesville OH 44077-0490

Lake County Prosecutor-Civil
PO BOX 490
Painesville OH 44077-0490

Ohio Department of Job & Family Services
Attn: Program Services/Revenue Recovery
P.O. Box 182404
Columbus, Ohio 43218-2404

Ohio Bureau of Workers' Compensation
Attn: Law Section Bankruptcy Unit
P.O. Box 15567
Columbus, Ohio 43215-0567

Ohio Attorney General
Collections Enforcement Section
attn Bankruptcy Staff
150 E Gay ST Fl 21
Columbus, OH 43215

                                                    /s/ Frederic P. Schwieg
                                                    Frederic P. Schwieg




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                       CONTRACT TO PURCHASE REAL ESTATE


    The undersigned Purchaser, or it's assigns, agree to purchase from Richard M. Osborne,
    Trustee, Seller, the following described real estate known as vacant land on Girdled
    Road, Permanent Parcel # 08A0010000490, Concord Township, Lake County, Ohio,
    containing 3 .21 acres, more or less.

    1.     The purchase price is $125,000.00, payable as follows:

               A. Earnest money, $ 5,000.00 in cash or check, to be deposited with Title
                  Company upon approval of the Court

               B. Balance is to be deposited with the escrow agent five days prior to closing.

               C. Purchaser is purchasing property with no contingencies.

    2.    Seller shall furnish a Limited Warranty Deed conveying to the Purchaser good
          title to the property, free and clear of any encumbrances whatsoever, except (i)
          zoning ordinances, if any; (ii) easements, reservations and restrictions of record, if
          any; (iii) taxes and assessments, which shall be prorated as of the date of title
          transfer (based on the last available tax duplicate), and therefore assumed by
          Purchasers.




    3.     Funds & Documents:

               All documents and funds necessary for the completion of this transaction shall
               be placed in escrow, with the escrow agent, Lake County Title Company, 306
               High Street, Fairport Harbor, Ohio, 44077. Telephone numbers 440-974-8242;
               not less than 3 days before the date of the title transfer.

    4.    Title:

               Title shall be taken as follows: Sommers Real Estate Group LLC


               Type of deed: Warranty

                                                                                        A
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    5.    Defects:

               In the event a defect in title appears, Seller shall have 30 days to remove said
               defect, and in any event of failure to do so, Purchaser may rescind this
               agreement.



    6.    Possession:

               Possession of the property shall be delivered upon transfer oftitle.


    7.    Charges:

               Seller shall pay: (a) any amounts due Purchaser by reason of pro-rations, (b)
               one half the escrow fee, (c) one half of the realty transfer tax and (d) one-half
               of the Owners Fee Title Policy in the amount of the purchase price and (e) the
               title examination fee (f) any CAUV recoupment

               Purchaser shall pay (a) one half of the escrow fee (b) one half of the transfer
               tax (c) one-half of the Owner's Fee Title Policy in the amount of the purchase
               price (d) any costs related to the filing of any mortgage placed on the property


    8.    Closing:

               Title shall transfer on or about: 5 days after court approval



    9.    Real Estate Commission:

          Buyer and Seller have not used any real estate agent and no commission is due to
          any Realtor.


    THIS AGREEMENT CONTAINS ALL OF THE TERMS AND CONDITIONS
    AGREED TO BY AND BETWEEN BUYER AND SELLER AND THERE ARE NO
    OTHER CONDITIONS, REPRESENTATIONS, WARRANTIES OR AGREEMENTS
    EXPRESSED OR IMPLIED. ANY CHANGES TO THIS AGREEMENT MUST BE IN
    WRITING.



    FACSIMILE (FAX) SIGNATURES OR ELECTRONIC SIGNATURES SHALL BE



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    DEEMED BINDING AND VALID.


    Purchaser(s):        tf.z                      Seller:

          ll)
    SommersReal
                                  UN601-
                         Estate Group LLC

                                                   Dated:- - - - - - -
    Box 1102
    Chardon, Ohio 44024
    Address




    Dated:
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                                                   Dated:- - - - - -


    Telephone Number: 440-487-1220                 By: _ _ _ _ _ _ _ _ _ _ __

    Email: rs@sommersrealestate.com

                                                   Dated:- - - - - -




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                                           Full Search
                                    Effective date: March 15, 2018




Property Address:
11714 Girdled Road


Title Vested in the Name of:
Richard M. Osborne, Trustee


Vesting Deed (s)
2007R040609

Legal Description:
See Deed 2007R040609 for description


Mortgages and Liens
Mortgage from Richard M. Osborne Trustee to RBS Citizens Charter One filed for record * and recorded
as Instrument No. 2014R013422 of Lake County Records. Amount $12,960,000.00 (caption and more
land)

Judgment lien Filed on 8/21/2009; 09-JL-004014, in favor of RBS Citizens, Charter One, AGAINST: John
D Oil and Gas Company Richard M Osborne, Trustee and Richard M. Osborne (individually)
Amount $9,500,000.00
Judgment lien Re-filed on 8/18/2014; 14-JL-003247, in favor of RBS Citizens, Charter One, AGAINST:
John D Oil and Gas Company Richard M Osborne, Trustee and Richard M. Osborne (individually)
Amount $9,500,000.00

Judgment Lien Filed on 8/21/2009; 09-JL-004015, in favor of RBS Citizens, Charter One, Against: Richard
M. Osborne (individually); Great Plains Exploration LLC and Oz Gas. Amount $21,211,495.94
Judgment lien Re-filed on 8/18/2014; 14-JL-003248, in favor of RBS Citizens, Charter One, Against:
Richard M. Osborne (individually); Great Plains Exploration LLC and Oz Gas. Amount $21,211,495.94
NOTE: THIS LIEN IS FILED AGAINST RICHARD M. OBORNE (INDIVIDUALLY) AND IS NOT FILED AGAINTS
THE RICHARD M. OSBORNE TRUST

Judgment Lien Filed on 7/25/2011, 11-JL-003136, in favor of The Home Savings and Loan Company,
AGAINST: Richard M. Osborne, Trustee, Richard M. Osborne, Trustee of the Rigrtona Trust, Richard M.
Osborne Individually
Amount $737,105.52
Judgment Lien Re-filed on July 20, 2016. 16-JL-002725 in favor of The Home Savings and Loan
Company, AGAINST: Richard M. Osborne, Trustee, Richard M. Osborne, Trustee of the Rigrtona Trust,
Richard M. Osborne Individually


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 Amount $737,105.52
 Note: The above lien was assigned on November 14, 2017 from Home Savings Bank to Rigrtona Holding
 Company LLC (NOTE: THIS ASSIGNEMENT WAS FILED IN ERROR IN CASE 16-JL-002726 – this assignment
 was not filed in jl docket 16-JL-002725 as shown above)
 NOTE: THIS LIEN APPEARS TO BE FILED AGAINST THE RIGRTONA TRUST AND NOT THE RICHARD M.
 OSBORNE TRUST

 Judgment Lien Filed on 7/25/2011, 11-JL-003139, in favor of The Home Savings and Loan Company,
 AGAINST: Richard M. Osborne (Individually) and Leimco Development Co. and Martin Hathy
 Amount $1,230,753.89
 Judgment lien Re-filed on July 20, 2016, 16-JL-002726, in favor of The Home Savings and Loan Company,
 AGAINST: Richard M. Osborne (Individually) and Leimco Development Co. and
 Martin Hathy
 Amount $1,378,250.02
 Note: The above lien was assigned on November 14, 2017 from Home Savings Bank to Leimco
 Acquisition Company LLC
 NOTE: THIS LIEN IS FILED AGAINST RICHARD M. OBORNE (INDIVIDUALLY) AND IS NOT FILED AGAINTS
 THE RICHARD M. OSBORNE TRUST

 Judgment Lien Filed on 9/28/2011, 11-JL-004219, in favor of Citizens Bank;
 Assigned on 4/12/2013 to Chicago Title Insurance Company. AGAINST; Richard M. Osborne, Trustee and
 Richard M. Osborne (individually)
 Amount $3,460,913.95
 Judgment Lien Re-filed on September 13, 2016. Common Pleas Court of Lake County docket 16-JL-
 003910 in favor of Chicago Title Insurance Company. AGAINST; Richard M. Osborne, Trustee and
 Richard M. Osborne (individually)
 Amount $3,460,913.95

 Judgment Lien Filed on 11/23/2011, 11-JL-005330, in favor of Home Savings and Loan Company of
 Youngstown;
 AGAINST; Midway Industrial Campus, and Richard M. Osborne (Amount: $4,164,725.00)
 AGAINST; Madison Route 20 LLC and Richard M. Osborne (Amount $2,248,265.46)
 Judgment lien Re-filed on July 20, 2016, 16-JL-002731, in favor of Home Savings and Loan Company of
 Youngstown;
 AGAINST; Midway Industrial Campus, and Richard M. Osborne (Amount: $4,164,725.00)
 AGAINST; Madison Route 20 LLC and Richard M. Osborne (Amount $2,248,265.46)
 Note: Partial Release filed for record November 16, 2017 which releases Richard M. Osborne from the
 above judgment
 NOTE: THIS LIEN IS FILED AGAINST RICHARD M. OBORNE (INDIVIDUALLY) AND IS NOT FILED AGAINTS
 THE RICHARD M. OSBORNE TRUST

 Judgment Lien Filed on 2/15/2013, 13 FJ-000002, In favor of First Source bank,
 AGAINST; Richard M. Osborne (individually)
 Amount $523,117.37
 NOTE: THIS LIEN IS FILED AGAINST RICHARD M. OBORNE (INDIVIDUALLY) AND IS NOT FILED AGAINTS
 THE RICHARD M. OSBORNE TRUST




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 Judgment Lien Filed on 10/15/2015, 15-JL-004203, in favor of CFBank (28879 Chagrin Blvd. Woodmere
 Ohio 44122) AGAINST; Richard M. Osborne, Trustee and Richard M. Osborne (individually)
 Amount; $662,565.96
 Note: The above lien was assigned on August 1, 2016 from CF Bank to 7001 Center St. LLC

 STATE JUDGMENT LIEN filed 12/19/2015. 15-ST-005412. In favor of the Ohio Department of Taxation,
 against Richard M. Osborne (individually) in the amount of $594,583.30
 NOTE: THIS LIEN IS FILED AGAINST RICHARD M. OBORNE (INDIVIDUALLY) AND IS NOT FILED AGAINTS
 THE RICHARD M. OSBORNE TRUST

 Judgment Lien Filed on 2/15/2013, 13 FJ-000002, In favor of First Source bank,
 AGAINST; Richard M. Osborne (individually)
 Amount $523,117.37

 Notice of lien filed 2/19/2016 in Instrument no. 2016L000096 of Lake County Records in favor of Ohio
 Department of Job and Family services against Rick M. Osborne and Tom J. Smith, d/b/a/ LSS I LP in the
 amount of $150.81

 Judgment Lien Filed on 7/20/2016, 16-JL-002725, in favor of The Home Savings and Loan Company of
 Youngstown AGAINST; Richard M. Osborne, Trustee The Rigrtona Trust and Richard M. Osborne
 (individually)
 Amount; $737,105.52
 Note: The above lien was assigned on November 14, 2017 from Home Savings to Rigrtona Holding
 Company LLC

 Judgment Lien filed on 7/20/2016. 16-JL-002726, in favor of the Homes Savings and Loan Company of
 Youngstown, against Leimco Development Company, Richard M. Osborne and Martin Hathy
 Amount: $1,387,520.00
 Note: The above lien was assigned on November 14, 2017 from Home Savings to Leimco Acquisition
 Company LLC

 STATE JUDGMENT LIEN filed 03/09/2017. 17-ST-001389. In favor of the Ohio Department of Workmen’s
 Compensation, against Richard M. Osborne (individually) in the amount of $22,188.99 – serial No.
 4233537 –
 NOTE: THIS LIEN IS FILED AGAINST RICHARD M. OBORNE (INDIVIDUALLY) AND IS NOT FILED AGAINTS
 THE RICHARD M. OSBORNE TRUST

 Workmen’s Compensation Lien, filed for record March 10, 2017 and recorded in Instrument No.
 2017R006265 of Lake County Records in favor of the State of Ohio Bureau of Workmen’s Compensation
 against Richard M. Osborne et-al The Northwesterly
 Judgment amount $22,193.60– serial No. 4233537 –Risk No. 1225465-0
 NOTE: THIS LIEN IS FILED AGAINST RICHARD M. OBORNE (INDIVIDUALLY) AND IS NOT FILED AGAINTS
 THE RICHARD M. OSBORNE TRUST

 Judgment Lien Filed on May 18, 2017, 17-JL-002688, in favor of Chicago Title Insurance Company
 AGAINST; Richard M. Osborne, Trustee and Richard M. Osborne (individually), Rigrtona Trust and Leimco
 Development Company
 Amount; $1,657,332.86




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 Judgment Lien Filed on September 29, 2017- 17-JL-004165, in favor of Chicago Title Insurance Company
 AGAINST; Richard M. Osborne, Trustee and Richard M. Osborne (individually), Rigrtona Trust and Leimco
 Development Company
 Amount; $1,657,332.86

 Judgment Lien Filed on October 18, 2017- 17-JL-005189, in favor of First National Bank of Pennsylvania
 AGAINST; Richard M. Osborne, Trustee under restated Trust Agreement dated January 13, 1995 and
 Richard M. Osborne (individually), Junior Properties, Rigrtona Trust of December 3, 2001, Chowder Gas
 Storage Facility, Lake Shore Gas Storage Inc, Orwell Trumbull Pipeline Co. LLC, Heisley Hopkins Inc, Black
 Bear Realty LTD and Hamilton Partners Inc.
 Amount; $4,609,385,39 with interest at $952.28 per day

 Judgment Lien Filed on October 18, 2017- 17-JL-005190, in favor of First National Bank of Pennsylvania
 AGAINST; Richard M. Osborne, Trustee under restated Trust Agreement dated January 13, 1995 and
 Richard M. Osborne (individually), Junior Properties, Rigrtona Trust of December 3, 2001, Chowder Gas
 Storage Facility, Lake Shore Gas Storage Inc, Orwell Trumbull Pipeline Co. LLC, Heisley Hopkins Inc, Black
 Bear Realty LTD and Hamilton Partners Inc.
 Amount; $4,609,385,39 with interest at $952.28 per day

 Judgment Lien Filed on October 18, 2017- 17-JL-005191, in favor of First National Bank of Pennsylvania
 AGAINST; Richard M. Osborne, Trustee under restated Trust Agreement dated January 13, 1995 and
 Richard M. Osborne (individually), Junior Properties, Rigrtona Trust of December 3, 2001, Chowder Gas
 Storage Facility, Lake Shore Gas Storage Inc, Orwell Trumbull Pipeline Co. LLC, Heisley Hopkins Inc, Black
 Bear Realty LTD and Hamilton Partners Inc.
 Amount; $541,388.32 with interest at $47.40 per day

 Judgment Lien Filed on October 18, 2017- 17-JL-005192, in favor of First National Bank of Pennsylvania
 AGAINST; Richard M. Osborne, Trustee under restated Trust Agreement dated January 13, 1995 and
 Richard M. Osborne (individually), Junior Properties, Rigrtona Trust of December 3, 2001, Chowder Gas
 Storage Facility, Lake Shore Gas Storage Inc, Orwell Trumbull Pipeline Co. LLC, Heisley Hopkins Inc, Black
 Bear Realty LTD and Hamilton Partners Inc.
 Amount; $471,216.54 with interest at $75.48 per day

 Judgment Lien Filed on October 18, 2017- 17-JL-005193, in favor of First National Bank of Pennsylvania
 AGAINST; Richard M. Osborne, Trustee under restated Trust Agreement dated January 13, 1995 and
 Richard M. Osborne (individually), Junior Properties, Rigrtona Trust of December 3, 2001, Chowder Gas
 Storage Facility, Lake Shore Gas Storage Inc, Orwell Trumbull Pipeline Co. LLC, Heisley Hopkins Inc., Black
 Bear Realty LTD and Hamilton Partners Inc.
 Amount; $104,929.18 with interest at $10.06 per day

 Judgment Lien Filed on October 18, 2017- 17-JL-005194, in favor of First National Bank of Pennsylvania
 AGAINST; Richard M. Osborne, Trustee under restated Trust Agreement dated January 13, 1995 and
 Richard M. Osborne (individually), Junior Properties, Rigrtona Trust of December 3, 2001, Chowder Gas
 Storage Facility, Lake Shore Gas Storage Inc, Orwell Trumbull Pipeline Co. LLC, Heisley Hopkins Inc, Black
 Bear Realty LTD and Hamilton Partners Inc.
 Amount; $34,036.09 with interest at $3.27 per day




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 Judgment Lien Filed on October 18, 2017- 17-JL-005195, in favor of First National Bank of Pennsylvania
 AGAINST; Richard M. Osborne, Trustee under restated Trust Agreement dated January 13, 1995 and
 Richard M. Osborne (individually), Junior Properties, Rigrtona Trust of December 3, 2001, Chowder Gas
 Storage Facility, Lake Shore Gas Storage Inc, Orwell Trumbull Pipeline Co. LLC, Heisley Hopkins Inc, Black
 Bear Realty LTD and Hamilton Partners Inc.
 Amount; $557,387.76 with interest at $48.76 per day

 Judgment Lien Filed on October 18, 2017- 17-JL-005196, in favor of First National Bank of Pennsylvania
 AGAINST; Richard M. Osborne, Trustee under restated Trust Agreement dated January 13, 1995 and
 Richard M. Osborne (individually), Junior Properties, Rigrtona Trust of December 3, 2001, Chowder Gas
 Storage Facility, Lake Shore Gas Storage Inc, Orwell Trumbull Pipeline Co. LLC, Heisley Hopkins Inc, Black
 Bear Realty LTD and Hamilton Partners Inc.
 Amount; $547,470.56 with interest at $121.04 per day

 Judgment Lien Filed on October 18, 2017- 17-JL-005197, in favor of First National Bank of Pennsylvania
 AGAINST; Richard M. Osborne, Trustee under restated Trust Agreement dated January 13, 1995 and
 Richard M. Osborne (individually), Junior Properties, Rigrtona Trust of December 3, 2001, Chowder Gas
 Storage Facility, Lake Shore Gas Storage Inc, Orwell Trumbull Pipeline Co. LLC, Heisley Hopkins Inc, Black
 Bear Realty LTD and Hamilton Partners Inc.
 Amount; $1,346,107.19 with interest at $117.73 per day

 Judgment Lien Filed on October 18, 2017- 17-JL-005198, in favor of First National Bank of Pennsylvania
 AGAINST; Richard M. Osborne, Trustee under restated Trust Agreement dated January 13, 1995 and
 Richard M. Osborne (individually), Junior Properties, Rigrtona Trust of December 3, 2001, Chowder Gas
 Storage Facility, Lake Shore Gas Storage Inc, Orwell Trumbull Pipeline Co. LLC, Heisley Hopkins Inc, Black
 Bear Realty LTD and Hamilton Partners Inc.
 Amount; $93,857.37 with interest at $0 per day

 Judgment Lien Filed on October 18, 2017- 17-JL-005199, in favor of First National Bank of Pennsylvania
 AGAINST; Richard M. Osborne, Trustee under restated Trust Agreement dated January 13, 1995 and
 Richard M. Osborne (individually), Junior Properties, Rigrtona Trust of December 3, 2001, Chowder Gas
 Storage Facility, Lake Shore Gas Storage Inc, Orwell Trumbull Pipeline Co. LLC, Heisley Hopkins Inc., Black
 Bear Realty LTD and Hamilton Partners Inc.
 Amount; $142,492.71 with interest at $13.67 per day

 Judgment Lien Filed on November 1, 2017- 17-JL-005314, in favor of First National Bank of Pennsylvania
 AGAINST; Richard M. Osborne, Trustee under restated Trust Agreement dated January 13, 1995 and
 Richard M. Osborne (individually), Junior Properties, Rigrtona Trust of December 3, 2001, Chowder Gas
 Storage Facility, Lake Shore Gas Storage Inc, Orwell Trumbull Pipeline Co. LLC, Heisley Hopkins Inc., Black
 Bear Realty LTD and Hamilton Partners Inc.
 Amount; $480.138.04




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 Taxes
 Taxes for the year 2017, Payable in 2018:
 Listed in the name of Richard M. Osborne, Trustee (Parcel No. 08-A-001-0-00-049-0)

 First Half taxes amounting to $1,132.31 (includes first half penalty) are a lien
 Second half taxes amounting to $1,029.37 are a lien but not yet due
 Prior Delinquencies: $1,086.51
 ___________________________________________________
 Total full year taxes and delinquencies currently due: $3,248.19

 Assessed Values: Land $25,570; Building $0; Total: $25,570

 Other Encumbrances
 Restrictions in the deed from B D M L Inc to James A. Bruening and Kellie Bruening dated May 12, 1995,
 filed for record May 15, 1995 and recorded in Volume 1116. Page 204 of Lake County Records




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                     IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION
 IN RE RICHARD M. OSBORNE                              CASE NO. 17-17361
 DEBTOR                                                CHAPTER 11
                                                       JUDGE ARTHUR I. HARRIS

     ORDER GRANTING MOTION OF RICHARD M. OSBORNE TO SELL A PARCEL OF REAL
  PROPERTY LOCATED AT GIRDLED ROAD, CONCORD TOWNSHIP OH FREE OF ANY INTEREST
                      OF ANY ENTITY OTHER THAN THE ESTATE

        The matter before the Court is the motion of Richard M. Osborne, Debtor in Possession

 (“Debtor”) for an order pursuant to 11 U.S.C. §§ 102(1)(B)(i), 363(b) and (f), authorizing the

 sale of the property of the estate described below free of any interest of any entity other than the

 estate (“Motion”). [Docket No. __] .

        THE COURT FINDS THAT:

 1. The Motion and Notice of the Motion was certified as being duly served according to the

 Bankruptcy Code and Federal Rules of Bankruptcy Procedure.

 2. On December 17, 2017 (the “Petition Date”), the Debtor filed his voluntary petition for relief

 under chapter 11 of title 11 of the United States Code (the "Bankruptcy Code").




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 3. The Debtor has continued in possession of his property and has continued to operate and

 manage his businesses as debtor-in possession pursuant to §§ 1107(a) and 1108 of the

 Bankruptcy Code. No request has been made for the appointment of a trustee or examiner, and

 the United States Trustee has indicated that no official creditor committee is being formed in this

 case.

 4. The Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334. Venue

 is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409. This is a "core" proceeding

 pursuant to 28 U.S.C. § 157(b)(2)(A), (M) and (O). The statutory predicate for the relief sought

 herein is Section 363(b) and (f) of the Bankruptcy Code.

 5. The Debtor seeks to sell vacant land at Girdled Road, Concord Ohio PPN 08A0010000490

 (“Girdled Road”). The Debtor proposes to sell the estate’s interest in Girdled Road for

 $125,000.00 (“Gross Proceeds”) less payment of all outstanding real estate taxes through the

 closing date, consisting of approximately $3,248.19 in current real estate taxes due Lake County

 Ohio (the “Real Estate Taxes” and the remaining sum the “Net Proceeds”) on the terms and

 conditions set forth in the offer to purchase from Sommers Real Estate Group LLC (“Buyer”)

 attached to the Motion as Exhibit A. Buyer has no connection to the Debtor, but is seeking to

 purchase two lots on Concord Hambden Road that is the subject of a separate motion to sell.

 Buyer is therefore purchasing Girdled Road in good faith.

 6. Prepetition title to Girdled Road was in the name of the Richard M. Osborne Trust (“Trust”).

 On December 17, 2017 the Debtor revoked the Trust which caused the Trust’s property to revest

 in the Debtor on that date. Girdled Road is therefore property of this bankruptcy estate.

 7. On or about January 7, 2008, the Trust gave a mortgage to RBS Citizen’s Charter One Bank

 (“RBS”) on Girdled Road (the “Mortgage”). The Mortgage granted a first priority lien on




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 Girdled Road. RBS alleges that it is owed $8,076,373.53 in its filed proof of claim Claim No.

 28. The only interest superior to the Mortgage in Girdled Road are the liens for Real Estate

 Taxes.

 8. The Lake County Auditor’s fair market appraisal for Girdled Road is $73,070.00. The

 proposed Gross Sales Price is therefore fair and reasonable for Girdled Road.

 9. There are numerous holders of an interest in Girdled Road as set forth on Exhibit B to the

 Motion, but all such holders of any interest consent to the sale free of their interest.

 10. Many of the interests in Girdled Road are in bona fide dispute. .

 11. As the remaining interests are junior in priority to the Mortgage, the holder of any interest in

 Girdled Road may be compelled in a legal or equitable proceeding to accept a money satisfaction

 of such interest.

 12. Therefore Girdled Road may be sold free of any interest of any other entity.

 THEREFORE IT IS ORDERED THAT:

 1. The Debtor is hereby authorized to sell Girdled Road, free and clear of any interest of any

 entity other than the estate;

 2. The Debtor is hereby authorized to disburse from the Gross Sale Proceeds an amount

 sufficient to pay the Real Estate Taxes, and the Net Proceeds to RBS, but subject to the

 jurisdiction of this Court should its claim later be disallowed or if RBS be paid in full from other

 sources.

 3. All other interests in Girdled Road are hereby subject distribution pursuant to later order of

 this Court, in accordance with the respective rights and priorities of the holders any interest in

 Girdled Road, as such right appears and is entitled to be enforced against Girdled Road, the

 Estate or the Debtor under the Bankruptcy Code or applicable non-bankruptcy law.




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 Prepared By:
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 Attorney for Richard M. Osborne


                                CERTIFICATE OF SERVICE
       a copy of the foregoing Order Granting Motion to Sell was served on following on this
 ______ day of April, 2018 by regular U.S. mail or by ECF.

 The following is a list of the parties who are on the list to receive e-mail notice/service for this case:

 T Gregory P. Amend on behalf of Creditor First National Bank of Pennsylvania
 gamend@bdblaw.com, grichards@bdblaw.com

 Adam S. Baker on behalf of Creditor Michael E. Osborne, Sr.
 abakerlaw@sbcglobal.net, adam@bakerlaw.us;abakerlaw@gmail.com

 Robert D. Barr on behalf of Creditor Chicago Title Insurance Company
 rbarr@koehler.law, rbarr@koehler.law

 David T. Brady on behalf of Creditor Tax Ease Ohio, LLC
 DBrady@Sandhu-Law.com, bk1notice@sandhu-law.com

 Christopher J. Klym on behalf of Creditor Ohio Department of Taxation
 bk@hhkwlaw.com

 Matthew H. Matheney on behalf of Creditor First National Bank of Pennsylvania
 mmatheney@bdblaw.com, bhajduk@bdblaw.com

 Timothy P. Palmer on behalf of Creditor The Huntington National Bank
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 John J. Rutter on behalf of Creditor Concord Lumber & Supply Co.
 jrutter@ralaw.com

 Frederic P. Schwieg on behalf of Debtor Richard M. Osborne
 fschwieg@schwieglaw.com

 Michael J. Sikora, III on behalf of Creditor Chicago Title Insurance Company
 msikora@sikoralaw.com, aarasmith@sikoralaw.com;mtroha@sikoralaw.com

 Nathaniel R. Sinn on behalf of Creditor First National Bank of Pennsylvania
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 atomko@sandhu-law.com, bk1notice@sandhu-law.com



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 Jeffrey C. Toole on behalf of Interested Party Zachary B Burkons
 toole@buckleyking.com, young@buckleyking.com;heberlein@buckleyking.com

 Michael S. Tucker on behalf of Creditor Citizens Bank, N.A.
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 Maria D. Giannirakis ust06 on behalf of U.S. Trustee United States Trustee
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 Scott R. Belhorn ust35 on behalf of U.S. Trustee United States Trustee
 Scott.R.Belhorn@usdoj.gov

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 Columbus, Ohio 43218-2404

 Ohio Bureau of Workers' Compensation
 Attn: Law Section Bankruptcy Unit
 P.O. Box 15567
 Columbus, Ohio 43215-0567

 Ohio Attorney General
 Collections Enforcement Section
 attn Bankruptcy Staff
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 Columbus, OH 43215




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